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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHUNNYE DUNLAP                                   :
              Plaintiff,

              v.                                 :

THE AMERICAN LEGION;
AMERICAN LEGION POST 153 HOME                    :
ASSOCIATION d/b/a and a/k/a                                 CIVIL ACTION
GEORGE M. IMHOF POST 153 OF THE                             NO. 20-3771
AMERICAN LEGION OF THE STATE OF                 :
PENNSYLVANIA a/k/a CLUB 153 a/k/a
POST 153; AMBOO INC.; AMERICAN
LEGION DEPARTMENT OF                             :
PENNSYLVANIA, INC.; GEORGE M.
IMHOF POST 153 OF THE AMERICAN
LEGION, STATE OF PA LLC; and, JOHN               :
DOE CORPORATION AND/OR JOHN
DOE(S) SECURITY GUARDS
                   Defendants.                   :

                                            ORDER

       AND NOW, this 19th day of October 2020, upon consideration of: Defendant American

Legion’s Notice of Removal (ECF No. 1); Plaintiff’s Motion to Remand (ECF No. 2); Defendant

American Legion’s Response (ECF No. 3); and, Plaintiff’s Replies thereto (ECF 4, 5), it is

hereby ORDERED that in accordance with this Court’s accompanying Memorandum, Plaintiff’s

Motion (ECF No. 2) is GRANTED and the Clerk of Court shall REMAND this matter back to

the Philadelphia Court of Common Pleas.

                                                     BY THE COURT:



                                                     _/s/ C. Darnell Jones, II   J.
